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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

Townes of Rockwell Place Condominium                  )
Association,                                          )
                                                      )
                       Plaintiffs,                    )       Case No. 24-12538
                                                      )
               v.                                     )       State Case No. 2024-CH-00000212
                                                      )
Insurance Company of Greater New York,                )
                                                      )
                       Defendants.                    )

                                     NOTICE OF REMOVAL

       Defendant, The Insurance Company of Greater New York (“Defendant” or “GNY”),

through its attorneys and pursuant to 28 U.S.C. §§ 1332, 1441(a), and 1446, removes this civil

action from the Circuit Court of Lake County to the United States District Court for the Northern

District of Illinois, Eastern Division. In support, Defendant states:

       1.      On October 30, 2024, Plaintiff Townes of Rockwell Place Condominium

Association (“Plaintiff”), filed a Complaint captioned Townes of Rockwell Place Condominium

Association v. The Insurance Company of Greater New York, No. 2024-CH-00000212, in the

Circuit Court of Lake County, Illinois (the “Complaint”). Copies of all documents filed in the

State Court Action are annexed hereto as Exhibit 1.

       2.      The Complaint was first served on Defendant on November 7, 2024. See Service

of Summons within Exhibit 1.

                             BASIS FOR FEDERAL JURISDICTION

       3.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1332, 1441, and

1446 because this is a civil action in which the amount in controversy exceeds the sum of
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$75,000.00, exclusive of costs and interests, and because there exists complete diversity between

Plaintiff and Defendant.

        4.      Removal to United States District Court for the Northern District of Illinois, Eastern

Division, is proper in this Court pursuant to 28 U.S.C. § 112(c) because it is the district and division

embracing the place where such action is pending in accordance with 28 U.S.C. § 1441(a).

                                   DIVERSITY OF CITIZENSHIP

        5.      Plaintiff is an Illinois not-for-profit corporation with its principal place of business

located in Schaumburg, IL. See Pl.’s Compl. ¶ 1.

        6.      Defendant is incorporated in the State of New York with its principal place of

business in New York, NY.

        7.      Defendant’s Corporate disclosure statement is annexed hereto as Exhibit 2.

                                   AMOUNT IN CONTROVERSY

        8.      In the Complaint, Plaintiff’s alleges a breach of contract claim against Defendant

in connection with a hail and windstorm that occurred on or around July 23, 2022 at its property

located in Lakemoor, IL. See Pl.’s Compl. ¶ 4.

        9.      Defendant estimated Plaintiff’s loss at $277,528.74. See Pl.’s Compl. ¶ 9.

        10.     Plaintiff submitted a Sworn Statement in Proof of Loss to Defendant claiming a

covered loss in the amount of $2,785,148.10. See Pl.’s Compl. ¶ 10. A copy of the Sworn

Statement in Proof of Loss is attached to the Complaint as Exhibit B.

        11.     As such, the amount in controversy is at least $2,507,619.36.

                                      REMOVAL PROCEDURE

        12.     This notice of Removal is timely because it was filed within thirty days after receipt

by Defendant of Plaintiff’s initial pleading on November 7, 2024. See 28 U.S.C. § 1446(b)(1).

        13.     No previous application has been made for the relief requested herein.

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       14.     Defendant has complied with all statutes, orders, and provisions governing the

removal of this action.

       15.     Defendant does not waive any legal defenses that it may have to defend against the

allegations made by Plaintiff in the Complaint.

       16.     Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal is being served

upon counsel for Plaintiff, and a copy is also being filed with the Clerk of the Circuit Court of

Lake County, Illinois.

       WHEREFORE, Defendant respectfully requests that the State Court Action be removed to

the United States District Court for the Northern District of Illinois, Eastern Division, and that this

Court assume jurisdiction of this action and make such further orders as may be required to

properly determine this controversy.

                                               Respectfully submitted,

                                               /s/Alexander Bialk
                                               Matthew S. Ponzi
                                               Alexander Bialk
                                               FORAN GLENNON PALANDECH PONZI &
                                               RUDLOFF PC
                                               222 North LaSalle Street, Suite 1400
                                               Chicago, Illinois 60601
                                               (312) 863-5000
                                               (312) 863-5099 (Fax)
                                               mponzi@fgppr.com
                                               abialk@fgppr.com

                                               Attorneys for Defendant, The Insurance Company of
                                               Greater New York




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on December 6, 2024 the foregoing document was filed with the Clerk

of the Court and served in accordance with the Federal Rules of Civil Procedure and/or the

Northern District’s Local Rules and/or the Northern District’s Rules on Electronic Service upon

the following parties and participants:

       J. Robert Keena
       Bryan M. Wiley
       8050 West 78th Street
       Edina, MN 55439
       jkeena@hjlawfirm.com
       bwiley@hjlawfirm.com

       Attorneys for Plaintiff



                                                           /s/ Alexander Bialk




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